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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS

DANA-FARBER CANCER INSTITUTE, INC.,

                 Plaintiff,

     - and-
                                              Civil Action No. 1:15-cv-13443-PBS
PFIZER INC., WYETH LLC,
and GENETICS INSTITUTE, LLC,

                 Intervenors-Plaintiffs,      PUBLIC REDACTED VERSION

                  v.

ONO PHARMACEUTICAL CO., LTD.,                 Leave to File Granted on 8/13/2019
TASUKU HONJO, E.R. SQUIBB & SONS,
L.L.C., and BRISTOL-MYERS SQUIBB, CO.,

                                Defendants.


          PLAINTIFF DANA-FARBER CANCER INSTITUTE, INC.’S
   REPLY MEMORANDUM IN SUPPORT OF MOTION FOR ATTORNEYS’ FEES
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“Brief”             Plaintiff Dana-Farber’s Memorandum in Support of Motion For Attorneys’
                    Fees, Dkt. 406

“Decl”              Declaration of Barbara A. Fiacco in Support of Dana-Farber Cancer
                    Institute’s Motion for Attorneys’ Fees, Dkt. 407

“Maslowski Decl.”   Declaration of Steven Maslowski, Dkt. 416

Opp.                Defendants’ Corrected Opposition To Dana-Farber’s Motion for Fees, Dkt.
                    420

“Second Decl.”      Second Declaration of Barbara A. Fiacco




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I.     INTRODUCTION

       This case fits well within the definition of an “exceptional case” under Section 285: one that

stands out as “out of the ordinary course” or “unusual,” based on considerations of “frivolousness,

motivation, objective unreasonableness . . . and the need in particular circumstances to advance

considerations of compensation and deterrence.” Octane Fitness, LLC v. ICON Health & Fitness,

Inc., 572 U.S. 545, 553, 558 n. 6 (2014). In its Motion for Attorneys’ Fees, Dana-Farber laid out

the unusual nature of this case: Defendants engaged in blatantly dilatory tactics and pressed

objectively unreasonable positions to delay correction of inventorship, enabling them to secure

lucrative licensing deals and preempt Dana-Farber’s own licensing opportunities. Defendants

respond that Dana-Farber’s motion amounts to a belated claim for money damages. Not so. Dana-

Farber’s motion is directed to what makes this case exceptional: Defendants engaged in a

purposeful delay strategy for an improper purpose. Their licensing strategy exposes Defendants’

billion-dollar financial interest in avoiding correction of inventorship for as long as possible. Their

Opposition offers no other credible explanation for their actions, and undermines rather than

supports their claim to have acted in good faith and have engaged merely in “ordinary litigation.”

       Defendants’ litigation conduct sets this case apart from the “run-of-the-mill” case. It forced

Dana-Farber to expend an inordinate amount of resources to correct inventorship and strung out

this case for 3 1/2 years, enabling Defendants to take their purported “exclusive” rights to the bank

in 2017 and 2018. This is a case that cries out for fee shifting.

II.    DEFENDANTS’ DELAY TACTICS WERE CALCULATED AND
       UNREASONABLE

       A.      Defendants’ Delayed Acceptance of Service Undermines Their Claim that They
               Sought to Expedite Resolution of this Case

        Defendants argue that they were not required to waive service of process in October 2015,

and that Ono would have been entitled to 90 days to respond to the Complaint if it formally waived



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service under Rule 4. These arguments only confirm that Defendants had no intention of

expediting the litigation. If Defendants truly wanted to hasten resolution of the case, they would

not have demanded the maximum period they could have claimed for Ono to respond.1

       Even worse, when Dana-Farber asked Defendants to accept service, they attempted to

pressure Dana-Faber into transferring the case to Delaware, their preferred forum. On November 4,

2015, their counsel Steve Maslowski told Dana-Farber’s counsel that “Ono would waive service of

the complaint if Dana-Farber agreed to refile its complaint in Delaware.” Maslowski Decl., ¶2

(emphasis added). This would have required Dana-Farber to file its complaint in a jurisdiction to

which it has no ties and which had nothing to do with the inventorship dispute. It also would have

forced Dana-Farber to incur considerable additional travel costs and local counsel fees. This strong-

arm, coercive tactic undermines Defendants’ argument of good faith.

       B.      Defendants’ Frivolous Procedural Motions Delayed the Case Rather than
               Expediting It

       Defendants now contend that their multiple procedural motions—including Ono’s multiple

motions to dismiss for lack of personal jurisdiction, BMS and Honjo’s motion to dismiss for failure

to join an indispensable party, their motion to transfer to Delaware and subsequent motion for

reconsideration of that motion, and their motion to stay discovery—were “intended to expedite, not

delay, this litigation.” Opp. at 8, 10. Defendants’ assertion that their true intent was to “expedite”

Dana-Farber’s inventorship claim lacks any supporting evidence. Defendants refused Dana-

Farber’s request for discovery into their subjective state of mind at the time and, absent such

discovery, the Court should disregard all representations about Defendants’ “intent.” See, e.g., XYZ



1
  Defendants cite their conflict waiver request as an excuse for delay. They note that Akin Gump
requested the waiver on October 16, 2015, but omit that Dana-Farber granted it that very same day.
See Second Decl., Ex. 23 (filed herewith). Any conflict issues were resolved by October 16,
contrary to Defendants’ attempt to suggest otherwise.


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Corp. v. United States, 348 F.3d 16, 24 (1st Cir. 2003) (rejecting party’s attempt to “selectively

disclose fragments helpful to its cause, entomb other (unhelpful) fragments, and in that way kidnap

the truth-seeking process”).

       It was clear from the outset that Defendants’ spurious motions would delay, not expedite,

resolution of Dana-Farber’s case. Because of the advanced stage of the Delaware litigation, this

case could not have proceeded on a parallel track with it. At the time of the first transfer briefing in

February 2016, discovery in the Delaware cases had been ongoing for more than a year, Dkt. 64,

Ex. 22-23, and was due to close in May. See Dkt. 61 at 6, 19; Dkt. 52, Ex. 17. By the time the

transfer motion was briefed in Delaware in May and June, the Delaware court had held a Markman

hearing, three of the four named inventors had been deposed, fact discovery was set to close in less

than four weeks, and trial had been set for April 2017. See Decl., Ex. 14, 18, 22; Second Decl., Ex.

24. By contrast, discovery had not even begun in Dana-Farber’s inventorship case.

       When Dana-Farber proposed that discovery proceed regardless of the ultimate decision on

venue, Defendants instead sought and obtained a stay of discovery that lasted until April 13, 2017.

Dkt. 80, 122. Even after the Delaware court rejected their transfer motion as unauthorized under

the transfer statute, Defendants refused to join a request that the discovery stay be lifted. Decl., Ex.

11. Defendants’ stonewalling cannot have been intended to “expedite, not delay” the litigation.

       Ono’s personal jurisdiction motion, and Ono’s renewal of it in 2017, were particularly

egregious, given the wealth of information available to Defendants’ counsel, including numerous

documents within Ono’s and Honjo’s possession, evidencing Ono’s strong contacts in

Massachusetts related to PD-1/PD-L1, including its drug development collaboration with GI, Ono’s

agreement to put PD-1 into the GI development pool, and Ono’s participation in the collaboration

meetings in Massachusetts. Brief at 9; Order at 17-18, 20.




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       As Defendants concede in their corrected brief, Dana-Farber affirmatively sought

jurisdictional discovery, but was rebuffed. Opp. at 11; see also Dkt. 417. Dana-Farber had served

discovery requests on Honjo that were directed to Ono’s role in the collaboration as early as

January 12, 2016. 2 Second Decl., Ex. 25. Dana-Farber also requested jurisdictional discovery in its

opposition to Ono’s jurisdictional motion, Dkt. 127 at 3, n. 2. Moreover, by the time Ono renewed

its jurisdictional motion in January 2017, all three Defendants and their counsel were fully aware of

the collaboration meetings among Ono, Honjo, GI , and Freeman, which had been the subject of

deposition testimony in 2016 in the Merck litigation. Brief at 12-13. Exhibits marked at those

depositions, see Decl., Exs. 17, 19-20, evidenced Ono’s jurisdictional ties to Massachusetts. Brief

at 12. Despite this, Ono renewed its motion to dismiss in January 2017, further delaying the case

and forcing Dana-Farber to spend time and money briefing the motion.3 Dkt. 103-104.

       Defendants now offer a vague, unsupported “explanation” for withdrawing their motions

mere days before oral argument, asserting “changed circumstances.” Opp. at 12. They provide no

documentary support or attorney declaration to support this assertion, and it should be disregarded.




2
 See, e.g., Request No. 11: “All documents reflecting or relating to any contract(s), agreement(s),
or understanding(s) between Honjo, Ono, BMS, or Squibb on the one side and GI on the other side
concerning the Patents or research relating to PD-1, PD-L1, PD-L2, or inhibition of the function of
PD-1, PD-L I, or PD-L2 for treatment of cancer.” Documents responsive to this request clearly
showed that research studying the PD-1/PD-L1 pathway and its therapeutic potential arose out of
Ono’s Massachusetts collaboration. See, e.g., JTX-0471, JTX-0450.0003. JTX-0142.00007.
3
  Defendants argue that Dana-Farber should have amended its complaint to “adequately plead
jurisdiction or to add information it obtained through the documents it received from Pfizer,” and
claim that Dana-Faber “chose not to do so.” Opp. at 11. In fact, Dana-Farber did include
additional jurisdictional allegations in its amended complaint in January 2017, including
information from the Pfizer document production. Dkt. 98 at ¶ 21. Nevertheless, Defendants
continued to press Ono’s jurisdictional motion and criticized Dana-Farber for amending its
allegations. Dkt. 104 at 1, 3.


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       C.      Defendants Cannot Justify their Withholding of Relevant License Agreements
               and Deposition Testimony

       Defendants attempt to minimize their unreasonable discovery conduct by characterizing

their withholding of relevant deposition testimony of the named inventors as simply “an impasse on

a few documents.” 4 Opp. at 14. On the contrary, the documents that were the subject of Dana-

Farber’s motion to compel included the named inventors’ deposition testimony in the Merck case

and the Rule 30(b)(6) deposition testimony of company representatives, which were highly relevant

to the claims and defenses in this action. See Brief at 10-11. Indeed, information in redacted

passages was central to the inventorship issues in this case. See id. at 18.

       Defendants mischaracterize their failure to produce the August 2018 license agreement with

Regeneron, now claiming that they were waiting for Dana-Farber and Pfizer to modify the

protective order to add an “Outside Counsel Only” provision. Opp. at 15. Defendants

misleadingly omit that in January 2018 the parties explicitly agreed, at the behest of Defendants’

counsel, to produce licensing agreements under an “Attorneys Eyes Only” designation in the

situation “where dissemination is limited by the express terms of the agreement to outside counsel

only.” See Second Decl., Ex. 27. Defendants also omit that after they sought to modify the

protective order in January 2019, mere weeks before trial, to produce an unidentified license

agreement, Dana-Farber promptly agreed to Defendants’ proposed amendment and did not

withhold approval of the motion. See id., Ex. 28.




4
  Defendants attempt to equate disputes over the timing of document productions with their refusal
to produce entire categories of relevant documents. Moreover, as Dana-Farber pointed out at the
time, in their first “rolling” document production, Defendants mainly produced publicly available
file histories, publications, and court pleadings, while withholding all depositions and exhibits from
the Merck case. Dana-Farber, by contrast, produced documents cited in its contention interrogatory
responses before Defendants did the same. See, e.g., Second Decl., Ex. 26.


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       D.      Defendants Have No Good-Faith Explanation for their Last-Minute Attempts
               to Delay Trial

       In their Opposition, Defendants ignore that the reason the trial delay associated with the

Nobel Prize ceremony was “minimal” was because the Court rejected Defendants’ attempt to claim

that after December 2018 they were only “available March 11 through April 26 [2019].” Brief at

11; Decl. Ex. 16; Dkt 271 at 6:4-23.




                                                                                            At the

least, Defendants’ conduct further supports a finding of exceptional case. See Octane Fitness, 572

U.S. at 555 (2014) (conduct does not need to be sanctionable to support exceptional case finding).

III.   DEFENDANTS CANNOT JUSTIFY THEIR UNREASONABLE LITIGATION
       POSITIONS




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       A.      Defendants’ Challenge to the Scope of the Collaboration Was Objectively
               Unreasonable

       Defendants argue that their attempts to contest the scope of the collaboration were “entirely

supported by precedent.” But legal precedent is not the issue here. The issue is whether it was

reasonable for Defendants to assert that the three-way collaboration was merely intended to

“characterize the ligand” for PD-1 in the face of overwhelming evidence that the collaboration was

not so limited. Defendants were well aware that the three-way collaboration continued long after

PD-L1 was “characterized.” As the Court found, if the collaboration had been so limited, there

would have been no reason for their continued “exchange [of] confidential experimental data,”

their four additional meetings over the course of the eighteen months, and the addition the PD-

1/PD-L1 pathway to their collaborative drug development agreement. Order at 72. Defendants

also wholly ignore Honjo’s admission, in his December 2018 Nobel Lecture, that Dr. Freeman was

one of his “major outside collaborators”—not on characterizing PD-L1—but on “cancer

immunotherapy.” JTX-828.

       In their only effort to address the facts of the case, Defendants erroneously conflate the

question of who first had a specific idea or who conducted an experiment with the scope of the

collaboration. This red herring provides no reasonable justification for their argument that the

collaboration somehow excluded confidential communications and meetings that continued over at

least the next 18 months investigating the use of the PD-1/PD-L1 pathway to treat cancer.

       B.      Defendants’ Made Objectively Unreasonable Challenges to Corroboration

       Defendants’ arguments at trial on corroboration largely missed the point, and their

Opposition makes the same error. For example, in her Closing, Defendants’ counsel claimed that

Freeman’s presentation of his slides (JTX-0095) at the October 1999 meeting was insufficiently

corroborated, Tr. 9-60, 61; see Def. Post-Trial Br, Dkt. 375 at 11. Yet there was no dispute that

Freeman’s contribution of the information contained in those slides was amply corroborated.

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Among other things, the slides disclosed the amino acid sequence of PD-L1, described its

homology to the B7 protein, and reported that the EST from which it was derived was discovered

in a human ovarian tumor. Defendants did not deny that Freeman made these discoveries and

shared them confidentially in the collaboration. That Freeman made these discoveries was

corroborated not only by his slides, but also by his earlier BLAST search. JTX-0431. That

Freeman shared them with Honjo before they were public was established by numerous

communications, including drafts of the Freeman et al. paper circulated to Honjo early in 2000, as

well as by admissions of Honjo and Defendants’ expert Greene. Moreover, as the Court

specifically found, Shibayma’s notes from the October 1999 meeting

                                                                  “contain information from Dr.

Freeman’s slides, specifically that 292 shares 20% of its amino acids with B7-1 and B7-2, Dr.

Freeman discovered 292 from a human ovary tumor EST, and he had membrane and secreted

versions of 292.” Order at 69. In view of the extensive evidence, Defendants’ attack on Freeman’s

October 1999 slides as “uncorroborated” was a wasteful diversion and objectively unreasonable.6

       More generally, Defendants’ arguments about corroboration applied an incorrect legal

standard. They simply ignored that when the evidence includes more than merely the oral

testimony of the putative inventor, inventorship is decided under on the rule of reason. The rule of

reason is a “flexible . . . demand for independent evidence that, as a whole, makes credible the



6
  It was also objectively unreasonable for Defendants to challenge the authenticity of the slides
when their counsel agreed, during Honjo’s cross examination, that JTX-0095 was Freeman’s slides.
Tr. 4-60:23-25; 4-61:1-10. They now argue that Dana-Farber’s counsel should have offered
Honjo’s deposition testimony identifying the slides into evidence. They ignore that at the time,
Honjo was pressing to finish his testimony early to make a flight to Japan, and that Dana-Farber
counsel was attempting in good faith to accommodate him by not wasting time on unnecessary
cross examination. Tr. 4-193: 5-11. If Defendants are now suggesting that their counsel’s
interjection was meant to prevent Honjo from corroborating the slides in cross examination and
should have been recognized as a trap, this would scarcely demonstrate Defendants’ good faith.


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testimony of the purported” joint inventor. TransWeb, LLC v. 3M Innovative Props. Co., 812 F.3d

1295, 1302 (Fed. Cir. 2016) (emphasis added). It is not necessary that every fact be independently

corroborated. Defendants pressed numerous corroboration challenges that were objectively

unreasonable, providing further grounds for finding this case exceptional.

       C.      Defendants’ Attempts to Justify Their Arguments About Freeman’s and
               Wood’s PD-L2 Contributions are Contrary to Undisputed Facts

       The discovery of PD-L2 was a critical element in three out of six patents-in-suit.     It is

undisputed that Honjo performed no experiment with PD-L2 before applying for patents that

expressly recite PD-L2. Defendants have no excuse for claiming that Freeman contributed nothing

significant to the ‘048, ‘999 and ‘094 patents. As the Court correctly found, Freeman and Wood

determined that the PD-L2 molecule was a ligand for PD-1, generated its full-length sequence,

showed that it inhibits the immune response when bound to PD-1, and found that it is expressed on

certain tumor cells; they then provided “knowledge of the existence, structure and function of PD-

L2” to Honjo. Order at 88-89.

       Defendants’ reliance on Nartron does not justify their baseless arguments. The Nartron

court did not hold that dependent claims are to be ignored; it held on the facts of that case that the

contribution of a single element to one dependent claim was not a significant contribution because

that particular element was in the prior art and therefore “including it as part of the claimed

invention was merely the basic exercise of ordinary skill in the art.” Nartron Corp. v. Schukra

U.S.A., Inc., 558 F.3d 1352, 1357 (Fed. Cir. 2009). Defendants’ argument that Freeman and Wood

made no inventive contributions to the PD-L2 patents was objectively unreasonable.

       D.      Defendants’ Assertion of a Laches Defense Was Objectively Unreasonable

       Defendants’ Opposition ignores the evidence in a misguided attempt to justify their

continued assertion of a laches defense through trial. First, Defendants recite the presumption of

laches even though Dana-Farber brought suit less than six years after the issuance of all six patents,

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such that Defendants bore the burden of proving any unreasonable delay. Second, Defendants fail

to explain why they pressed their laches defense as to all six patents in suit—including the ‘899

patent that issued nearly eleven months after Dana-Farber filed its original complaint. The Court

found that Defendants provided “no evidence” of any unreasonable delay in connection with four

of the patents and also failed to offer any evidence that the alleged “evidentiary prejudice” would

have changed the outcome of the case as to any of the patents. Order at 108-09 (emphasis added).

       Finally, Defendants had no reasonable basis to argue “economic prejudice,” having enjoyed

$11.6 billion in sales of Opdivo in 2017 and 2018 alone based on business decisions made without

regard to whether BMS had exclusive rights to the patents. Tr. 6-71:7-25, 6-72: 1-4. Strikingly, in

their post-trial findings of fact, Defendants argued that they “may suffer material economic

prejudice” in the future and represented that their “exclusive license rights would be eradicated if

Dana-Farber were to prevail” with its inventorship claim. Dkt. 374 at ¶163; cf. A. C. Aukerman Co.

v. R. L. Chaides Constr. Co., 960 F.2d 1020, 1033 (Fed. Cir. 1992) (economic prejudice requires at

minimum that defendant “will suffer” damage) (emphasis added).




                           Defendants’ laches defense was objectively unreasonable.

IV.    Conclusion

       Any one of the above factors would warrant an exceptional case finding. Taken together,

the totality of circumstances lead to the conclusion that the Court should, in the exercise of

discretion, find the case exceptional and award Dana-Farber its reasonable attorneys’ fees and non-

taxable costs.




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                                    DANA-FARBER CANCER INSTITUTE, INC.
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Dated: August 13, 2019




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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the above document, filed through the CM/ECF
system, will be sent electronically to the registered participants of record as identified on the
Notice of Electronic Filing on August 14, 2019.



                                               /s/ Donald R. Ware
                                               Donald R. Ware
